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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 IN THE MATTER OF THE APPLICATION OF Misc. Action No. 19-0032 (ABJ)
 WP COMPANY LLC



    GOVERNMENT’S UNOPPOSED MOTION FOR AN EXTENSION OF TIME IN
                 WHICH TO FILE A RESPONSE TO THE
        MOTION FOR PUBLIC ACCESS TO SEALED COURT RECORDS

       The United States of America, by and through Special Counsel Robert S. Mueller, III, files

this unopposed motion for an extension of time—to and including April 1, 2019—to respond to a

motion to unseal certain search warrant materials. The Washington Post does not oppose this

motion.

       1. On March 7, 2019, the Washington Post filed a motion under Local Criminal Rule 57.6

for public access to certain unredacted records from United States v. Manafort, No. 17-cr-201-

ABJ-1. Specifically, the motion seeks unredacted versions of filings and hearing transcripts related

to this Court’s determination of whether Manafort breached his plea agreement, and the

government’s unredacted sentencing submission. The motion additionally asks the Court to put

in place a “process” for ongoing reevaluation of redactions—including a forward looking reporting

obligation for the government and regular reassessment of each redaction. The government’s

response is presently due on March 21, 2019. See L. Cr. R. 47(b).

       2. The government respectfully requests an extension of time—through and including

April 1, 2019—to respond to the motion. The counsel responsible for preparing the response face

the press of other work and require additional time to consult within the government.

       3. On March 19, 2019, counsel for the Washington Post informed the government that

they do not oppose the requested extension.
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       For the foregoing reasons, the government’s unopposed motion for an extension of time to

and including April 1, 2019 should be granted. A proposed order accompanies this motion.



                                                   Respectfully submitted,

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Dated: March 19, 2019




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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 IN THE MATTER OF THE APPLICATION OF Misc. Action No. 19-0032 (ABJ)
 WP COMPANY LLC



                                     [Proposed] ORDER

         Upon consideration of the government’s Unopposed Motion for a One-Week Extension of

Time in Which to File a Response to the Motion for Public Access to Sealed Court Records, it is

hereby

         ORDERED that the government’s motion is GRANTED.




________________                           __________________________________
Date                                       HON. AMY BERMAN JACKSON
                                           UNITED STATES DISTRICT JUDGE
